           Case 1:20-cv-01037-GHW Document 13 Filed 11/09/20 Page 1 of 1

                                                                           USDC SDNY
                                                                           DOCUMENT
                                                                           ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                           DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                           DATE FILED: 11/9/2020
----------------------------------------------------------------- X
                                                                  :
  JAMES PEREIRA,                                                  :
                                                  Plaintiff,      :
                                                                  :           1:20-cv-1037-GHW
                              -v -                                :
                                                                  :               ORDER
KGN ENTERPRISES, INC., d/b/a/ BAWARCHI :
INDIAN CUISINE & AZIZ A. KHAN,                                    :
                                               Defendants. :
----------------------------------------------------------------- X

GREGORY H. WOODS, United States District Judge:

         The parties have informed the Court that they agree to conduct all further proceedings

before the assigned Magistrate Judge. The parties’ November 9, 2020 request for an extension to

file a fully executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge form,

Dkt No. 12, is GRANTED. The deadline for the parties to file a fully executed form is extended to

November 17, 2020.

         The Clerk of Court is directed to terminate the motion pending at Dkt No. 12.

SO ORDERED.

Dated: November 9, 2020
New York, New York                                                    _______________________________
                                                                           GREGORY H. WOODS
                                                                          United States District Judge
